Case: 1:06-cr-00594-DDD Doc #: 1282 Filed: 02/18/11 1 of 2. PageID #: 5878




                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                )       CASE NO. 1:06CR594-20
                                         )
                        PLAINTIFF,       )       JUDGE SARA LIOI
                                         )
vs.                                      )
                                         )       ORDER
LAMAR PUGH,                              )
                                         )
                                         )
                     DEFENDANT.          )

              A violation report was filed in this case on December 1, 2010. The Court

referred this matter to Magistrate Judge Nancy A. Vecchiarelli to conduct appropriate

proceedings and to file a Report and Recommendation. The Magistrate Judge reported

that a supervised release violation hearing was held on January 6, 2011. The Magistrate

Judge filed a Report and Recommendation on January 11, 2011, in which the Magistrate

Judge recommended that the Court find that the defendant violated the terms of his

supervised release and, further, recommended that the defendant be sentenced to 12

months and 1 day in prison, with a recommendation that he be placed in a drug treatment

program, followed by a period of 24 months supervised release. No objections were filed

to the Report and Recommendation.

              The defendant and Attorney Edward G. Bryan appeared before this Court

on February 18, 2011.

              The Court finds the defendant in violation of the terms and conditions of

his supervised release and the Court adopts the Report and Recommendation of the
Case: 1:06-cr-00594-DDD Doc #: 1282 Filed: 02/18/11 2 of 2. PageID #: 5879




Magistrate Judge.

               IT IS ORDERED that the defendant be committed to the custody of the

Bureau of Prisons for a period of 12 months and 1 day, with a recommendation that he be

placed in a drug treatment program, followed by a period of 24 months supervised

release, subject to terms and conditions as set forth in the Court's Judgment Entry of even

date.

               IT IS SO ORDERED.



Dated: February 18, 2011
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE
